           Case 3:19-cr-00343-CRB Document 43 Filed 01/11/20 Page 1 of 1



 1   MIRANDA KANE (CSBN 150630)
     KANE +KIMBALL LLP
 2   803 Hearst Avenue
     Berkeley, CA 94710
 3   Tel:(510) 704-1400
     Fax: (877) 482-4749
 4   Email: mkane@kanekimball.com
 5   Attorneys for GUMARO YESCAS
 6
 7
 8
 9
                                       UNITED STATES DISTRICT COURT
10
                                      NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN FRANCISCO DIVISION
12
13   UNITED STATES OF AMERICA,                         No. CR-19-0343-CRB
14                       Plaintiff,                    DEFENDANT GUMARO YESCAS’S
                                                       WAIVER OF PERSONAL
15                                                     APPEARANCE AT HEARING ON
           v.                                          JANUARY 15, 2020
16
     GUMARO YESCAS,                        Judge:
17
                         Defendant.
18

19
20          In accordance with Federal Rule of Criminal Procedure 43(b), defendant Gumaro Yescas

21   hereby waives his personal appearance at the hearing in the above referenced matter scheduled for

22   January 15, 2020.
23   Date: January 11, 2020                                    /s/ Miranda Kane
24                                                      __________________________
                                                        MIRANDA KANE
25                                                      Attorney for GUMARO YESCAS

26
27
28
     DEF GUMARO YESCAS
     PERSONAL APPEARANCE WAIVER
     [CR-19-0343-CRB]
